Case 1:23-cv-00108-LMB-JFA Document 368-24 Filed 08/31/23 Page 1 of 5 PageID# 5627




                               EXHIBIT 24
Case 1:23-cv-00108-LMB-JFA Document 368-24 Filed 08/31/23 Page 2 of 5 PageID# 5628




                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA



       UNITED STATES, et al.

                             Plaintiffs,

              v.
                                                                        No: 1:23-cv-00108-LMB-JFA
       GOOGLE LLC

                             Defendant.



      NON-PARTY MICROSOFT CORPORATION’S RESPONSES AND OBJECTIONS TO
       GOOGLE LLC’S SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR
        OBJECTS OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

          Pursuant to Rules 26, 34, and 45 of the Federal Rules of Civil Procedure and Local Civil

  Rule 26, non-party Microsoft Corporation (“Microsoft”), by and through its undersigned counsel

  of record, submits the following objections to defendant Google LLC’s (“Google”) Subpoena to

  Produce Documents, Information or Objects or to Permit Inspection of Premises in a Civil

  Action (the “Subpoena”) served on Microsoft on August 15, 2023 in the above captioned

  litigation (the “Action”).

          Microsoft submits that these objections are made in good faith after a reasonable inquiry

  in response to the Subpoena and an initial meet and confer with Google’s counsel. 1 Without

  undertaking any obligation to do so, Microsoft reserves the right to assert additional objections

  and limitations concerning the Subpoena at any time as Microsoft may deem necessary. By

  asserting these objections, Microsoft does not waive its right to seek relief from the appropriate


  1
   Google’s 30(b)(6) subpoena to Microsoft includes a related topic to which Microsoft has objected. Microsoft
  briefly discussed this Subpoena with Google’s counsel on August 22, 2023 and advised that it would be serving
  Responses and Objections.
Case 1:23-cv-00108-LMB-JFA Document 368-24 Filed 08/31/23 Page 3 of 5 PageID# 5629




  should not have to do the work of tailoring a subpoena to what the requesting party needs; the

  requesting party should have done that before serving it.”). Microsoft further objects to the

  definition to the extent it seeks information regarding parties that are not reasonably identifiable

  and to the extent it calls for legal conclusions with respect to any of the terms identified therein.

                                  REQUESTS FOR DOCUMENTS

  REQUEST FOR PRODUCTION NO. 1:
  All Communications that You have had with a third party concerning Google where any of (i)
  Jonathan Kanter, (ii) Brandon Kressin, (iii) Susan Athey, (iv) any employee or agent of the
  Kanter Law Group, or (v) any employee or agent of the Kressin Law Group or Kressin Meador,
  is a sender or recipient (including as a “cc,” “bcc,” or “copied” recipient).

  RESPONSE TO REQUEST FOR PRODUCTION NO. 1:

         Microsoft objects to this Request as overbroad, unduly burdensome, and disproportionate

  to the needs of this Action because it seeks information that is plainly irrelevant to the claims or

  defenses in this Action, which concern Google’s alleged anticompetitive conduct in any alleged

  Ad Tech market. The Request, as written, seeks a broad swath of material that has absolutely no

  relation to either the allegations of anticompetitive conduct nor communications with the DOJ.

  The request seeks communications with any third party and involving practitioners with no

  association with the DOJ. The burden and breadth of this Request is particularly egregious

  considering that to the extent the sought-after materials exist, they are either in the possession,

  custody, or control of either parties to this Action or other, more appropriate sources, and

  therefore should not be requested from non-party Microsoft. See Jordan, 921 F.3d at 191 (“Even

  if [the non-party] might have additional, helpful evidence on any of these fronts, [the proponents]

  have never explained why [the non-party] is an appropriate source given the alternatives.”); Vital

  Farms, Inc., 2023 WL 2933303, at *4-8 (quashing a non-party subpoena where proponent “did

  not attempt to explain relevance or need for the documents or testimony it demanded, and it


                                                    7
Case 1:23-cv-00108-LMB-JFA Document 368-24 Filed 08/31/23 Page 4 of 5 PageID# 5630




  never addressed obvious alternative sources”). Indeed, Microsoft has been advised that in

  addition to DOJ (a party here), Google has subpoenaed a more appropriate non-party—the

  FTC—and has offered no explanation as to why it is seeking duplicative efforts from another

  non-party. Microsoft has similarly not objected to the FTC producing materials. Microsoft

  further objects to this Request as unduly burdensome, vague, and ambiguous with respect to the

  phrase “any employee or agent of,” and because the Request places the burden of identifying any

  such individuals on Microsoft. Finally, Microsoft objects to this Request to the extent it seeks

  disclosure of documents containing communications or other materials protected by the attorney-

  client privilege, the work product doctrine, or any other applicable privilege, immunity,

  protection, or doctrine.

         Subject to and without waiving Microsoft’s general and specific objections, Microsoft

  will produce the following documents related to Mr. Kanter’s representation of Microsoft in

  relation to Google’s acquisitions of DoubleClick, Admeld, and AdMob: (1) Antitrust Analysis of

  Google’s Proposed Acquisition of DoubleClick (2007), (2) Google’s Acquisition of Ad Mob: An

  Anticompetitive Deal to Combine the Top Two Firms in Mobile Advertising (2010), and (3)

  Anticompetitive Concerns of Google’s Proposed Acquisition of Admeld (2011).


  REQUEST FOR PRODUCTION NO. 2:
  All Communications that You have had with Jonathan Kanter concerning Google since Jonathan
  Kanter was nominated as Assistant Attorney General for the Antitrust Division of the U.S.
  Department of Justice (DOJ) on July 20, 2021, including any such Communications made
  through other DOJ employees.

  RESPONSE TO REQUEST FOR PRODUCTION NO. 2:

         Microsoft objects to this Request as overbroad, unduly burdensome, and disproportionate

  to the needs of this Action because it seeks information that is irrelevant to the claims or

  defenses in this Action, which concern Google’s alleged anticompetitive conduct in any alleged

                                                    8
Case 1:23-cv-00108-LMB-JFA Document 368-24 Filed 08/31/23 Page 5 of 5 PageID# 5631




  documents, information, or other materials that are more appropriately and conveniently

  obtained through other sources, including from Susan Athey herself. Jordan, 921 F.3d at 189.

  Microsoft further objects to this Request as unduly burdensome, vague, and ambiguous with

  respect to the phrase “work done.” Additionally, Microsoft objects to this Request to the extent it

  seeks disclosure of documents containing communications or other materials protected by the

  attorney-client privilege, the work product doctrine, or any other applicable privilege, immunity,

  protection, or doctrine.

         Subject to and without waiving Microsoft’s general and specific objections and after a

  reasonable inquiry, Microsoft did not identify any Documents, as limited to Ad Tech, responsive

  to this Request.


  Dated: August 25, 2023                       ORRICK, HERRINGTON & SUTCLIFFE LLP

                                               By:      /s/ Craig G. Falls_________

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                                                  11
